          Case 1:19-vv-00955-UNJ Document 31 Filed 02/01/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-955V
                                        UNPUBLISHED


    PHILIP MEYER,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: December 3, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

        On July 1, 2019, Philip Meyer filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine administration
(“SIRVA”) as a result of an influenza (“flu”) vaccine administered on December 1, 2016.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On December 3, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent concludes that Petitioner has satisfied the criteria for SIRVA


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
        Case 1:19-vv-00955-UNJ Document 31 Filed 02/01/21 Page 2 of 2




as set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”). Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                s/Brian H. Corcoran
                                Brian H. Corcoran
                                Chief Special Master




                                          2
